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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 LG ELECTRONICS INC. AND
 LG ELECTRONICS ALABAMA, INC.,

               Plaintiffs,                              Case No. 1:21-cv-2600

        v.                                              Judge: Mary M. Rowland

 THE PARTNERSHIPS AND                                   Magistrate Judge: Heather K. McShain
 UNINCORPORATED ASSOCIATIONS
 IDENTIFIED IN SCHEDULE A

               Defendant.


                                           ORDER

       On July 1, 2021, the Court heard Defendants Qingdao Ecopure Filter Co., Ltd. (named in

the Complaint as “WaterdropDirect,”), Qingdao Maxwell Commercial and Trading Company

Ltd. (named in the Complaint as “Water Purity Expert”), and Qingdao Uniwell Trading Co.,

Ltd.’s (named in the Complaint as “Uniwell Filter”) (collectively, the “Ecopure Defendants”), as

well as Defendants Tianjin Tianchuang Best Pure Environmental Science and Technology Co.,

Ltd. d/b/a as HEALTHY HOME~ d/b/a GOLDEN ICEPURE (“Healthy Home”), Top Pure

(USA) Inc. d/b/a as ICEPURE, W&L Trading LLC d/b/a as AQUALINK, and Yunda H&H

Tech (Tianjin) Co., Ltd. d/b/a as PUREPLUS (collectively, “Healthy Home Defendants”)

WaterdropDirect, Uniwell Filter, and Water Purity Expert (together, “Moving Defendants”)

Motions Under Rule 65 to Dissolve Ex Parte Temporary Restraining Order and Preliminary

Injunction filed as Dkt Nos. 53 and 64. After reviewing the motions and hearing oral argument

from the Moving Defendants and Plaintiffs LG Electronics Inc. and LG Electronics Alabama,
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Inc. (together, “Plaintiffs”), the Court hereby GRANTS the Moving Defendants’ Motions (Dkt.

Nos. 53, 64). Accordingly, the Court Orders that:

   1. The Preliminary Injunction (Dkt. No. 28) is hereby lifted for a period of 28 days solely

       with respect to the Moving Defendants.

   2. During that 28-day period, Plaintiffs are permitted to serve discovery and parties are

       encouraged to engage in informal discovery. Plaintiff shall issue discovery requests to

       Defendants by 7/2/21. Defendants shall respond to discovery requests by 7/13/21.

   3. Amazon.com shall immediately unfreeze and relist on Amazon.com the Moving

       Defendants’ Amazon storefront accounts previously frozen by order of this court upon

       receipt of this Order, such that these storefronts shall immediately be active on

       Amazon.com and be able to conduct sales of all products listed within these storefronts.

   4. Plaintiffs shall cooperate with Defendants to supply Amazon with the Order stated in

       paragraphs 3 herein.

   5. The parties shall appear before the Court for a status hearing on July 29, 2021.



                                                     IT IS SO ORDERED



                                                     ________________________________
                                                     Honorable Mary M. Rowland
